               Case 22-11068-JTD       Doc 24023-1      Filed 08/29/24     Page 1 of 3




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

FTX TRADING LTD., et al., 1                           Case No. 22-11068 (JTD)

         Debtors.                                     (Jointly Administered)



                 NOTICE OF TWENTIETH MONTHLY FEE STATEMENT

         TO:     (a) the Office of the United States Trustee; (b) counsel to the Official Committee
                 of Unsecured Creditors; (c) the Fee Examiner; and (d) all other parties required to
                 be given notice pursuant to the Interim Compensation Order.

               PLEASE TAKE NOTICE that on the date hereof, Quinn Emanuel Urquhart &
Sullivan, LLP (“Quinn Emanuel”) filed the Twentieth Monthly Fee Statement of Quinn Emanuel
Urquhart & Sullivan, LLP as Special Counsel to the Debtors and Debtors-in-Possession for
Compensation for Professional Services Rendered and Reimbursement of Expenses Incurred for
the Period from July 1, 2024 Through and Including July 31, 2024 (the “Monthly Fee Statement”) 2
with the United States Bankruptcy Court for the District of Delaware.

               PLEASE TAKE FURTHER NOTICE that objections (the “Objections”), if any,
to the Monthly Fee Statement must be made in accordance with the Order Establishing Procedures
for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the
“Interim Compensation Order”). Objections must be served on the following parties so as to be
received no later than 4:00 p.m. ET on September 18, 2024 (the “Objection Deadline”):

                 (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New
                 York, New York 10004, Attn: Alexa J. Kranzley (kranzleya@sullcrom.com) and
                 (b) Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington,
                 Delaware 19801, Attn: Adam G. Landis (landis@lrclaw.com) and Kimberly A.

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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to
    them in the Monthly Fee Statement.
            Case 22-11068-JTD        Doc 24023-1       Filed 08/29/24    Page 2 of 3




               Brown (brown@lrclaw.com); (ii) counsel to the Committee, (a) Paul Hastings LLP,
               200 Park Avenue, New York, New York 10166, Attn: Kris Hansen
               (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com), and
               Gabriel Sasson (gabesasson@paulhastings.com) and (b) Young Conaway Stargatt
               & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware
               19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
               (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
               Wilmington,        Delaware      19801,       Attn:     Linda       Richenderfer
               (linda.richenderfer@usdoj.gov); (iv) the Fee Examiner and her counsel, Godfrey &
               Kahn, S.C., One East Main Street, Suite 500, Madison, Wisconsin 53701,
               Attn: Katherine Stadler (FTXFeeExaminer@gklaw.com) and Mark Hancock
               (mhancock@gklaw.com); and (v) Quinn Emanuel Urquhart & Sullivan, LLP, 51
               Madison Ave., 22nd Floor, New York, New York 10010, Attn: Sascha N. Rand
               (sascharand@quinnemanuel.com)              and          Matthew          Scheck
               (matthewscheck@quinnemanuel.com).

           PLEASE TAKE FURTHER NOTICE THAT IN ACCORDANCE WITH THE
INTERIM COMPENSATION ORDER, IF NO OBJECTIONS ARE SERVED IN
ACCORDANCE WITH THE INTERIM COMPENSATION ORDER, THE DEBTORS WILL
BE AUTHORIZED TO PAY QUINN EMANUEL AN AMOUNT EQUAL TO 80% OF THE
FEES AND 100% OF THE EXPENSES REQUESTED IN THE MONTHLY FEE STATEMENT
THAT ARE UNOPPOSED WITHOUT FURTHER COURT ORDER.

               PLEASE TAKE FURTHER NOTICE that if an Objection to the Monthly Fee
Statement is served by the Objection Deadline, the parties shall follow the procedures set forth in
the Interim Compensation Order.




                                                2
          Case 22-11068-JTD   Doc 24023-1   Filed 08/29/24    Page 3 of 3




Dated: August 29, 2024            LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                  /s/ Kimberly A. Brown
                                  Adam G. Landis (No. 3407)
                                  Kimberly A. Brown (No. 5138)
                                  Matthew R. Pierce (No. 5946)
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                                          pierce@lrclaw.com

                                  -and-

                                  SULLIVAN & CROMWELL LLP
                                  Andrew G. Dietderich (admitted pro hac vice)
                                  James L. Bromley (admitted pro hac vice)
                                  Brian D. Glueckstein (admitted pro hac vice)
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                                  Counsel for the Debtors and Debtors-in-Possession




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